         Case 1:21-cv-02265-APM Document 189 Filed 02/14/23 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 CONRAD SMITH, et al,                          Case No: 1:21-cv-2265-APM

        Plaintiffs,
vs.

DONALD J. TRUMP, et al,

        Defendants.


                      MOTION FOR ADMISSION OF WILLIAM J. BLECHMAN
                         TO APPEAR PRO HAC VICE FOR PLAINTIFFS

       Pursuant to Rule 83.2(c) of the Local Rules of this Court, Edward G. Caspar, undersigned

sponsoring counsel, respectfully moves the Court for the admission pro hac vice of William J.

Blechman of Kenny Nachwalter, P.A., to represent Plaintiffs in this matter. This motion is

supported by the attached Declaration of Mr. Blechman, Exhibit 1, and Certificate of Good

Standing from United States District Court, Southern District of Florida issued within 30 days of

this filing. As set forth in Mr. Blechman’s Declaration, he is admitted in, and an active member

in good standing of, The Florida Bar, District of Columbia Bar, American Bar Association, U.S.

Supreme Court, Supreme Court of Florida, U.S. Court of Appeals for the Eleventh Circuit, U.S.

Court of Appeals for the Fifth Circuit, United States District Court for the Middle District of

Florida and United States District Court for the Southern District of Florida. Mr. Blechman’s

Declaration states that his firm has been retained as counsel by Plaintiffs in this action. Movant

is an active and sponsoring member of the Bar of this Court.

       Accordingly, Plaintiffs respectfully request that this Motion be granted so that Mr.

Blechman may attend and participate in all matters on behalf of Plaintiffs in this action.
            Case 1:21-cv-02265-APM Document 189 Filed 02/14/23 Page 2 of 4




           If the Court grants this Motion, then Mr. Blechman requests that he be served with all

Court filings, discovery and correspondence regarding this action at his business address set forth

in his Declaration.

Dated: February 10, 2023                              Respectfully submitted,

                                                      /s/ Edward G. Caspar
                                                      Edward G. Caspar
                                                      D.C. Bar No. 1644168
                                                      LAWYERS’ COMMITTEE FOR
                                                      CIVIL RIGHTS UNDER LAW
                                                      1500 K Street N.W., Suite 900
                                                      Washington, DC 20005
                                                      Tel: (202) 662-8300
                                                      ecaspar@lawyerscommittee.org

                                                      Sponsoring Counsel and Counsel for
                                                      Plaintiffs



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Case 1:21-cv-02265-APM Document 189 Filed 02/14/23 Page 3 of 4




             EXHIBIT 1
               Case 1:21-cv-02265-APM Document 189 Filed 02/14/23 Page 4 of 4



AO 136 (Rev. 10/13) Certificate of Good Standing




                                   UNITED STATES DISTRICT COURT
                                                           for the
                                              Southern District of Florida


                                         CERTIFICATE OF GOOD STANDING




                                                      Clerk of the United States District Court
              I,     Angela E. Noble,                 for the Southern District of Florida,


do hereby certify that William Jay Blechman, Florida Bar # 379281, was duly admitted to practice

in this Court on January 28, 1985, and is in good standing as a member of the Bar of this Court.

             Dated at: Miami, Florida on February 09, 2023.
